     Case
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                                             1-3 Surfacing
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      Services
                                         COURT RESURFACING & REPAIR
                                                                Restores courts to new condition from simple crack repairs to complete surface re
                                                                installation.

                                                                A coating system works well for courts that are faded or have minor cracking prob
      BEFORE                                                    top of other types of repairs.

                                                                We provide professional court striping as per usta and collegiate basketball rules.
                                              AFTER
                                                                to provide crisp sharp edges with no bleeding. We can also do custom color stripi




     WATER BLASTING
                                                      Old and failing material is removed with 10,000 psi surface removal machines.

                                                      This allows for complete renovation from the bottom up. By accessing under the
                                                      surface we can deal with any underlying foundation issues to build a stronger
                                                      and more durable longer lasting court.




         CALL US AT:
         800-522-0234
    4457 Oak Lane, Claremont CA
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